          Case: 5:10-cv-01719-JRA Doc #: 10 Filed: 11/18/10 1 of 1. PageID #: 65
It is so Ordered.
/s/ John R. Adams
U.S. District Judge
11/18/2010              IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

  Christopher Varney,                       :
                                            :      Case No. 5:10-CV-1719
                           Plaintiff,       :
                                            :      District Judge John R. Adams
         v.                                 :
                                            :
  Penncro Associates, Inc., et al.          :
                                            :
                           Defendants.      :



                     STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff, Christopher

  Varney and Defendant, Penncro Associates, Inc., hereby jointly stipulate to the

  dismissal WITH prejudice of all Plaintiff’s claims against all Defendants.

         Dated, this 17th day of November, 2010.



  /s/ Scott C. Florin                              /s/Jeffrey C. Turner (via email auth.)
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